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             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA,                      No. 4:17-CR-00403

      v.                                       (Judge Brann)

RAYMOND KRAYNAK,

           Defendant.

                                 ORDER

                            NOVEMBER 9, 2020

     In accordance with the accompanying Memorandum Opinion, IT IS

HEREBY ORDERED that Defendant’s motion to exclude the expert testimony of

Stephen M. Thomas, M.D. (Doc. 57) is DENIED.



                                        BY THE COURT:


                                        s/ Matthew W. Brann
                                        Matthew W. Brann
                                        United States District Judge
